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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )
                                                )                  8:01CR101
                vs.                             )
                                                )                  ORDER
MARVIN MILLER,                                  )
                                                )
                        Defendant.              )

        Defendant Marvin Miller (Miller) appeared before the court on March 14, 2006, on an Petition for
Warrant or Summons for Offender Under Supervision (Report) (Filing No. 482). Miller was represented
by Assistant Federal Public Defender Julie B. Hansen and the United States was represented by Assistant
U.S. Attorney Robert C. Sigler. Through his counsel, Miller requested a probable cause hearing on the
Report pursuant to Fed. R. Crim. P. 32.1(a)(1). The hearing was scheduled for March 20, 2006. Prior
to the hearing, Miller requested a continuance of the hearing to April 19, 2006, which was granted (Filing
No. 489).
        At the hearing on March 14, 2006, the government moved for detention. Through counsel, Miller
declined to present any evidence on the issue of detention and otherwise waived a detention hearing.
Since it was Miller’s burden under 18 U.S.C. § 3143 to establish by clear and convincing evidence that
he was neither a flight risk nor a danger to the community, the court found Miller had failed to carry his
burden and ordered Miller be detained pending a dispositional hearing before Senior Judge Strom.
        Miller again appeared with counsel before the undersigned magistrate judge on April 19, 2006.
Miller waived a hearing on probable cause.


        IT IS ORDERED:
        A final dispositional hearing will be held before Senior Judge Lyle E. Strom in Courtroom No. 5,
Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 11:30 a.m.
on April 28, 2006. Defendant must be present in person.
        DATED this 19th day of April, 2006.
                                                         BY THE COURT:
                                                         s/Thomas D. Thalken
                                                         United States Magistrate Judge
